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 5
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 6 United States of America

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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                             CASE NO. Cr 1:12-cr-00325 AWI-
                                                           BAM
12                                Plaintiff,
                                                           STIPULATION REGARDING
13                 v.                                      CONTINUANCE; ORDER
14   BOUNHOME SINGHARATH,
15                                Defendant.
16
                                               STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for a status conference on Monday, March 24,

21 2014, at 1:00 p.m. before the Honorable U.S. Magistrate Judge Barbara A. McAuliffe.

22          2.      By this stipulation, the parties agree to advance the matter to March 10, 2014, at 10
23
     a.m. before the Honorable Senior U.S. District Judge Anthony W. Ishii for a change of plea.
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          Case 1:12-cr-00325-AWI-BAM Document 88 Filed 03/06/14 Page 2 of 2


     IT IS SO STIPULATED.
 1
     DATED:     March 6, 2014.   Respectfully submitted,
 2
                                 BENJAMIN B. WAGNER
 3                               United States Attorney
 4
                                 /s/ Karen A. Escobar___________________
 5                               KAREN A. ESCOBAR
                                 Assistant United States Attorney
 6

 7 DATED:       March 6, 2014.
 8                               /s/ David Torres
                                 DAVID TORRES
 9                               Counsel for Defendant
10

11                                      ORDER
12
     IT IS SO ORDERED.
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14 Dated: March 6, 2014
                                       SENIOR DISTRICT JUDGE
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